
PER CURIAM.
The summary final judgment entered herein is reversed and the cause is remanded for further proceedings, on the authority of State Farm Insurance Company v. Bergman, 387 So.2d 494 (Fla. 5th DCA, 1980).
REVERSED and REMANDED.
DAUKSCH, C. J., ORFINGER, J., and EVANS, VERNON W., Associate Judge, concur.
ON MOTION FOR CLARIFICATION
PER CURIAM.
Appellees request that we clarify the brief opinion filed herein by expressly pointing out the conflict between this decision and cases decided by other appellate courts. Because there is such conflict and we do not intend to preclude further review of this decision, we clarify our earlier opinion by noting that the decision sub judice, by relying on State Farm Mutual Automobile Insurance Company v. Bergman, 387 So.2d 494 (Fla. 5th DCA 1980), expressly conflicts with: Carter v. Government Employees Ins. Co., 377 So.2d 242 (Fla. 1st DCA 1979); Florida Farm Bureau Cas. Co. v. Andrews, 369 So.2d 346 (Fla. 4th DCA 1978); and Aetna Casualty and Surety Company v. Ilmonen, 360 So.2d 1271 (Fla. 3d DCA 1978).
The motion for clarification is granted, and as clarified herein, we adhere to our original opinion.
DAUKSCH, C. J., ORFINGER, J., and EVANS, VERNON W., Associate Judge, concur.
